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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 23-CR-80101-CANNON

  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  WALTINE NAUTA,

       Defendant.
  _____________________________

                            NOTICE OF APPEARANCE

        Notice is hereby given that attorney Richard C. Klugh appears as co-counsel

  for defendant Waltine Nauta for purposes of district court representation.

                                               Respectfully submitted,
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